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. AO 242 (Rev. 09/17) Petition for a Writ of Habeas Corpus Under 28 U.S.C. § 2241

UNITED STATES DISTRICT COURT U.S. COURTS

for the
District of Idaho

OCT 15 2024 (
Rovd A! Filed___Time_!

STEPHEN W. KENYON
CLERK, DISTRICT OF IDAHO

case No, UV Ch N48O-NOCN

~~ (Supplied by Clerk of Court) ~~

Ni chaer DEmovura.

Petitioner

Vv.

Ne Ne et ee ee ee ee ee See ee”

Lde ho De CATO are Ok CORPOLTIONS
esponden
(name of warden or authorized person having custody of petitioner)

PETITION FOR A WRIT OF HABEAS CORPUS UNDER 28 U.S.C. § 2241

Personal Information

1. (a) Your full name: ?) ichaer. Demarre _ wea
(b) Other names you have used: - JI ee _
2. Place of confinement:

(a) Name of institution: QO,j ARAL
(b) Address: BOS. ORME Caug (Cyn (oad

(c) Your identification number: Ht bSH6 S ee

3, Are you currently being held on orders by:
0 Federal authorities State authorities O Other - explain:
4. Are you currently: — — -

CA pretrial detainee (waiting for trial on criminal charges)
(Serving a sentence (incarceration, parole, probation, etc.) after having been convicted of a crime
If you are currently serving a sentence, provide:

(a) Name and location of court that sentenced you: Ada Comey. Cc _Casez 20. uu ) ERO Se. Sv.

(b) roo! SSisbeds a ie Oe (Ry Fes SS — bo S yO _

(c) Date of sentencing: LAL VT
O Being held on an immigration charge’

COther (explain): Se@ved Strate ioe STiy Onu frulje, . _

Decision or Action You Are Challenging

5. What are you challenging in this petition:
C) How your sentence is being carried out, calculated, or credited by prison or parole authorities (for example,
revocation or calculation of good time credits)

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(Pretrial detention

OlImmigration detention

O Detainer
The validity of your conviction or sentence as imposed (for example, sentence beyond the statutory
maximum or improperly calculated under the sentencing guidelines)

O Disciplinary proceedings

CJ Other texplaing! Meu LY ay 5 Cause \ __ agp. (CUiglec c2 , _SoPsrctarb- py.
Eine. Gen seq Res —eF Get ing- Frocben Cele Qasioer—C _ OF. Covssyy. mevionatb-k af

6. Provide more information about the decision or action you are challenging:

(a) Name and location of the agency or court: Ada. Coowed CORE. ne
 RQOO..Ay. Rar? Srna NS8e vA oe eee

(b) Docket number, case number, or opinion number: Ca. Ye ~, Zope _ (23 -
(c) Decision or action you are challenging (for disciplinary proceedings, specify the penalties inihosed)i

Oisomen. op fos ComoecPigas

_(d) Date of the decision or action: - 7[aP]/20a3-— ween _ oe - . .

Your Earlier Challenges of the Decision or Action

7. First appeal
Did you appeal the decision, file a grievance, or seek an administrative remedy?
es ONo ,
(a) If “Yes,” provide:
(1) Name of the 6 Besar agency, or court: Poa Conve 2 Cone. ee .

@) Date offiling Qo. Qo gl = 20a3s — oy Ce

(3) Docket number, case number, or opinion number: ao - ce
(4) Result: O Sun les \ _ ve eee ene
(5) Date of result: DhNuan)_ascre. 20 AN ——— Coe

(6) Issues raised:

(b) ff you answered “No,” explain why you did not appeal:

8. Second appeal
After the first appeal, did you file a second appeal to a higher authority, agency, or court?
Yes ONo

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(a) If “Yes,” provide:
(1) Name of the authority, agency, or court: py, de C In? Y_ Chap Ci

(@ Date offiling: oy AQ. — 20dB-aAY mw Fe Mas
(3) Docket number, case number, or opinion number: (Lol. aS =68325— ee

(4) Result: Ds pwoikeA
(5) Date of result: oal- ay. Ao2d2 Re _ _
(6) Issues raised: _ Tiiog “0 pe Mic QO Cop ySeL i Kap 2 RRaRS =
Torta en Orr asx y woah hs Protale Wad of Cy

Third appeal —

After the second appeal, did you file a third appeal to a higher authority, agency, or court?
Yes ONo

(a) If “Yes,” provide:

(1) Name of the authority, agency, or court: ABS GOD) —2 TZ clbaho. Syfpsors. COAL

(2) 1 Date of filing: 2022
(3) Docket number, case number, or opinion number: 52 gg RL
7

(4) Result! = Di g~w Bad...
(5) Date of result: » Tie Aah 2}.

(6) Issues raised:

(b) If you -answered “No,” explain why you did not file a third appeal: yy agra? WehDRecs. —
ApGem.On.. Presume. Afar. Deere. b. Meg Toney. —-.

Motion under 28 U.S.C. § 2255
In this petition, are you challenging the validity of your conviction or sentence as imposed?
Yes CNo
If “Yes,” answer the following:
(a) Have you already filed a motion under 28 U.S.C. § 2255 that challenged this conviction or sentence?
Yes . I No

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If “Yes,” provide:

(1) Name of court:
(2) Case number:

(3) Date of filing:
(4) Result:

(5) Date of result:
(6) Issues raised:

(b) “Have you ever filed a motion in a United States Court of Appeals under 28 U.S.C. § 2244(b)(3)(A),
seekirig permission to file a second or successive Section 2255 motion to challenge this conviction or
sentence?

O Yes YANo

If “Yes,” provide:

(1) Name of court:

(2) Case number: ee
(3) Date of filing:

(4) Result:

(5) Date of result:

(6) Issues raised:

(c) Explain why the remedy under 28 U.S.C. § 2255 is inadequate or ineffective to challenge your

4

conviction or sentence: — Ty cea epise... TRS ella. woe

degC} Discovered aude noe (etter Bone Vetuet, Oyne TO.
STM woCe see. Ene... Pex Stone Cee ete tee

11. ‘Appeals of immigration proceedings
Does this case concern immigration proceedings?
OYes CINo
If “Yes,” provide:
(a) Date you were taken into immigration custody:
(b) Date of the removal or reinstatement order: eee - a
(c) Did you file an appeal with the Board of Immigration Appeals? :
Yes O No

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If “Yes,” provide:
(1) Date of filing:
(2) Case number:

(3) Result: _ _

(4) Date of result:

(5) Issues raised: oo _-
(d) ‘Did you appeal the decision to the United States Court of Appeals?

0 Yes xe .

If “Yes,” provide:

(1) Name of court: _ ee

(2) Date of filing: - oe — oe - _ a. we -

(3) Case number: oe oo. meee wee

(4) Result: - . _ we eee

(5) Date of rsutt _

(6) Issues raised:

12. Other appeals -
Other than the appeals you listed above, have you filed any other petition, application, or motion about the issues
raised in this petition?

Ves ONo
If “Yes,” provide:
.(a) Kind of petition, motion, or application:

| ARS. oe -
(b) Name of the authority, agency, or court: _ ad A. _ Lay rt). CURL. ene ene vo

(c) Date of filing: Adit. =. Bod WAZ... May. Lvel<ad= ot age

(d) Docket number, case number, or opinion number:

(e) Result: Dyn S54
(f) Date of result: 7

(g) Issues raised:

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Grounds for Your Challenge in This Petition

}3. State every ground (reason) that supports your claim that you are being held in violation of the Constitution,
laws, or treaties of the United States. Attach additional pages if you have more than four grounds. State the
facts supporting each ground. Any legal arguments must be submitted in a separate memorandum. ~

. (Pimid ‘ 4 3 ™~
GROUND ONE: JN egie BSSfinw le. GP Lonel ~—Tealge. BRN GA a
ad AON Le Gey} Chan LAAT... Fesan LOS 6a pve pn pees [VereerTIO”

J flee. Pa ve

(a) Supporting facts (Begrief Do not cite cases or law,).

Ex BES [ = \ cece
t—i\F uv" JS QR SS

(b) Did you present Ground One in all appeals that were available to you?

es ONo

GROUND TWO: V\dg. eRaaeS ae

(a) Supporting facts (Be brief Do not cite cases or law.)
Lh Rp ieS wen cee ne ee ee ee Re ne ee

(b) Did you present ee in all appeals that were available to you?
2

GROUND THREE: Zaft. asSi put 07. .CousSeb 2 =

(a) Supporting facts (Be brief Do not cite cases or law.).

Ed JBL be 25) Coe

(6) Did you present Ground Three in all appeals that were available to you?
Yes ONo

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14.

15.

GROUND FOUR: fog, Zon feSuyPeut’

(a) Supporting facts (Be brie: Do not cite cases or law.)

ls. Lie benr Frew 62. nn082-—Ceinve LBe ars — Fentfoe—~

‘(b) Did you present Ground Four in all appeals that were available to you?
Yes ONo

If there are any grounds that you did not present in all appeals that were available to you, explain why you did

nee: Necuiet—DiScoeued— Le idenrca.  SopPor tis 6—— Hyd. we
_—E-Ainecoue et: ices oe ~

Request for Relief

State exactly what you want the court to do: (Cnt On\ de Sense Nc?

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Declaration Under Penalty Of Perjury

If you are incarcerated, on what date did you place this petition in the prison mail system:

I declare under penalty of perjury that J am the petitioner, | have read this petition or had it read to me, and the

information in this petition is true and correct. J understand that a false statement of a material fact may serve as the basis

for prosecution for perjury.

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